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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA, : Case No. 3:19-CR-180(1)
Plaintiff, . District Judge Walter H. Rice
Magistrate Judge Sharon L. Ovington
VS.
EMMANUEL AVILA,

Defendant.

 

DECISION AND ENTRY

 

This matter came before the Court for hearing on July 28, 2020 before United
States Magistrate Judge Sharon L. Ovington, who thereafter issued a Report and
Recommendations. (Doc. No. 30), Having conducted a full colloquy with Defendant,
the Magistrate Judge concluded that his plea of guilty is knowing, intelligent, and
voluntary, and that there is an adequate factual basis for a finding him guilty as charged
in Count Two of the Indictment currently pending against him, which charges him with
Possession with Intent to Distribute 400 grams or more of Fentanyl in violation of Title
21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A).

The Court, noting that no objections to the Report and Recommendations have
been filed and that the time for filing objections has expired, hereby ADOPTS in full said
Report and Recommendations.

Therefore, based on the aforesaid, and this Court’s de novo review of the record

and the findings by the United States Magistrate Judge, this Court adopts the findings and
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recommendations of the United State Magistrate Judge, and finds that Defendant’s guilty
plea was knowing, voluntary, and intelligent. Final acceptance of Defendant’s guilty plea
is deferred pending review of the pre-sentence investigation report.

Pf -&-ABADd Bis. a ute

Walter H. Rice
United States District Judge

 
